
USCA1 Opinion

	










          June 8, 1995
                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT



                                 ____________________


        No. 94-2041

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                    BOOKER CLARK,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND


                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                        Cyr, Boudin and Lynch, Circuit Judges.
                                               ______________

                                 ____________________

            Edward C. Roy, Roy &amp; Cook on brief for appellant.
            _____________  __________
            Sheldon Whitehouse,  United  States Attorney,  Margaret E.  Curran
            __________________                             ___________________
        and Lawrence D.  Gaynor, Assistant United  States Attorneys, on  brief
            ___________________
        for appellee. 


                                 ____________________

                                 ____________________




















                      Per  Curiam.    Defendant-appellant   Booker  Clark
                      ___________

            pleaded  guilty  to  conspiring  to  possess  and  distribute

            cocaine  base and  to commit  various firearm  offenses.   He

            appeals his sentence on  two grounds.  First, he  argues that

            the district court erred in calculating the quantity of drugs

            upon which  the sentence was based.  Second, Clark challenges

            the  two-level enhancement for his  role in the offense which

            the district  court  imposed pursuant  to    3B1.1(c) of  the

            Sentencing  Guidelines.    "Because   appellant's  conviction

            resulted  from  a guilty  plea, we  draw  the facts  from the

            Presentence  Investigation Report (PSI) and the transcript of

            the sentencing  hearing." United  States v. Garcia,  954 F.2d
                                      ______________    ______

            12, 14 (1st Cir. 1992).

                 A. Drug Quantity
                    _____________

                 "A  narcotics  conspirator is  responsible not  only for

            drugs  he actually  handled  or saw  but  also for  the  full

            quantity of drugs that he  reasonably could have foreseen  to

            be embraced by the conspiracy he joined." United States v. De
                                                      _____________    __

            La Cruz, 996 F.2d  1307, 1314 (1st Cir.) (citing  U.S.S.G.   
            _______

            2D1.4, 2D1.1, 1B1.3 &amp;  comment n. 1), cert. denied,  ___ U.S.
                                                  ____  ______

            ___, 114 S.Ct 356 (1993).  The district court's determination

            of  the  quantity of  drugs  embraced by  the  conspiracy and

            foreseeable by the defendant will  be reversed only for clear

            error. De La Cruz, 996 F.2d at 1314.
                   __________

                 Clark argues on appeal that he could not have reasonably



















            foreseen  the amount of drugs involved in the August 21, 1993

            transaction because there  is no evidence that he  had joined

            the conspiracy by  that date.  He relies on  United States v.
                                                         _____________

            O'Campo, 973 F.2d 1015  (1st Cir. 1992), in which  this court
            _______

            held  that "the  base offense  level of  a co-conspirator  at

            sentencing  should  reflect only  the  quantity  of drugs  he

            reasonably foresees  it is  the object  of the conspiracy  to

            distribute after he joins the conspiracy." Id. at 1026.
                                                       ___

                 In this  case,  however, the  district  court  expressly

            found that the  government had proved  by a preponderance  of

            the  evidence  that Clark  "was  part  of  the conspiracy  to

            distribute  crack  cocaine  on  August  21,  1993  which  was

            accomplished by [co-conspirators Terrence and Alfred Brooker]

            in Newport."    Therefore,  O'Campo does not  apply, and  the
                                        _______

            only  question is whether it was clear error for the district

            court to  conclude that  Clark had  joined the conspiracy  by

            August 21, 1993.

                 Less  than   a  week   passed  between  the   August  21

            transaction  in  Newport and  the  August  27 transaction  in

            Philadelphia.      At  Clark's  sentencing  hearing,  Matthew

            Horace, an undercover agent working for the Federal Bureau of

            Alcohol,   Tobacco   and  Firearms,   testified   that  Clark

            identified himself as the  person in charge at the  August 27

            transaction.  He referred to Alfred Brooker as "his man."  He

            determined  who stayed at the  train station and  who went to



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            get the drugs.  Alfred Brooker reportedly told Horace that he

            and Terrence Brooker worked for Clark in an organization that

            distributed crack  cocaine and guns in  Philadelphia and that

            he  went frequently  to Newport  to bring  crack and  guns to

            Newport.   The district court found  this testimony credible.

            "At sentencing,  credibility determinations are  the province

            of  the district court."  United States v. Sepulveda, 15 F.3d
                                      _____________    _________

            1161, 1200 (1st Cir.  1993), cert. denied, ___ U.S.  ___, 114
                                         ____  ______

            S.Ct 2714 (1994).

                 From this testimony, it would certainly be reasonable to

            infer  that Clark had  joined the conspiracy  prior to August

            21, 1993, and that -- as the self-proclaimed person in charge

            -- he could reasonably have foreseen the sale by the Brookers

            of 10.9 grams of cocaine base on that date.   This is not the

            only reasonable inference.  Horace testified that he  did not

            know the source  of the cocaine sold  on August 21,  1993 and

            that the Brookers had told him that  Clark was not their only

            source  of   cocaine,  at  least  as   of  September,  1993.1

            Nonetheless, "where there is more than  one plausible view of

            the  circumstances,  the  sentencing  court's   choice  among

            supportable alternatives cannot be clearly erroneous." United
                                                                   ______

            States  v. Ruiz,  905 F.2d  499, 508  (1st Cir.  1990).   The
            ______     ____


                                
            ____________________

            1.  The district court found  that "the Brookers branched off
            after that  [the August  21 transaction] in  September, 1993,
            and  decided to freelance  and find cocaine  and weapons from
            other sources").

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            district court's inclusion of the 10.9  grams of cocaine base

            sold  on   August  21,   1993  as  "relevant   conduct"  when

            determining  Clark's  guideline   sentencing  range  was  not

            clearly erroneous.

                 B. Role in the Offense
                    ___________________

                 Section 3B1.1(c) of the Guidelines provides, in relevant

            part, that  defendant's offense  level shall be  increased by

            two levels  if  he was  "an  organizer, leader,  manager,  or

            supervisor."  Application of    3B1.1(c) is appropriate where

            there  are   at  least  two  participants   in  the  criminal

            enterprise and where  "the defendant exercised  control over,

            or was  otherwise responsible  for organizing the  activities

            of, at  least one other individual in  committing the crime."

            United  States v. Akitoye, 923 F.2d 221, 227 (1st Cir. 1991).
            ______________    _______

            A  district  court's  role-in-the-offense   determination  is

            reviewed only for clear error. Id.
                                           ___

                 The district  court's application of    3B1.1(c) in this

            case was not  clearly erroneous.   There is  no dispute  that

            more  than  one  person  was  involved  in  the  offenses  of

            conviction.  With respect to Clark's exercise of control, the

            record  supports  the  district  court's  finding  that  "the

            Defendant  was a leader in the offenses that are the offenses

            of conviction  in this  case."   Horace testified  that Clark

            announced during  the August 27  transaction that  he was  in

            charge.  Alfred  Brooker told Horace that the Brookers worked



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            for  Clark.    Clark  called  Alfred Brooker  "his  man"  and

            directed him to stay  with Horace at the train  station while

            Clark  went to  get the  drugs.   This evidence  supports the

            district court's finding that Clark exercised control over at

            least one  other person  in committing the  charged offenses.

            There was no clear error.

                 Accordingly, appellant's sentence  is affirmed  pursuant
                                                       ________

            to Loc. R. 27.1.

                   



































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